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          EXHIBIT A
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     IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY,
                        PENNSYLVANIA



CHELSEA CHAMBERS, an incapacitated       CIVIL DMSION
person, by and through ANTOINETTE
CHAMBERS, the natural and court          Case No.: GD-22--------
appointed guardian of the ESTATE and     Code:
PERSON of CHELSEA CHAMBERS,

                Plaintiff.               COMPLA.NT IN CIVIL ACTION

      vs.
                                         Filed on behalf of PLAINTIFF
GREENBRIER I NTERNATIONAL, INC.,
t/d/b/a DOLLAR TREE
MERCHANDISING,                           Counsel for PLAINTIFF:

                Defendant.               JON R. PERRY, ESQUIRE
                                         Pa. J.D. #62451

            H
                                         ROSEN & PERRY, P.C.
TO THE WITIN-NAMED DEFENDANT:            Finn #020
                                         The Frick Building, Suite 200
YOU ARE HEREBY NOTIFIED TO FILE A
WRITTEN RESPONSE TO THE ENCLOSED         437 Grant Street
COMPLAINT WITHIN TWENTY (20) DAYS        Pittsburgh, PA 15219
FROM SERVICE HEREOF OF A JUDGMENT        Telephone: 412-281-4200
MAY BE ENTERED AGAINST YOU.              Facsimile:    412-281-2997
                                         Email: iperry@caringlawyers.com

                                         JURY TRIAL DEMANDED
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